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               UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION


    JOSCELIN THOMAS,

                  Plaintiff,                             ORDER TO PROPOSE SCHEDULE

    v.

    DAVIS SCHOOL DISTRICT, a political
    subdivision of the State of Utah; HEIDI
    ALDER, in her individual and official                        Case No. 2:24-cv-00019
    capacities; SUZI JENSEN, in her
    individual and official capacities; and FIDEL         District Judge Howard C. Nielson, Jr.
    MONTERO, in his individual and official
    capacities,                                            Magistrate Judge Daphne A. Oberg

                  Defendants.


          To secure the just, speedy, and inexpensive determination of every action and proceeding

and fulfill the purposes of Fed. R. Civ. P. 1, 16, and 26, IT IS HEREBY ORDERED:

          1.     Except for cases listed in Fed. R. Civ. P. 26(a)(1)(B), Plaintiff(s) must propose a

                 schedule to Defendant(s) in the form of a draft Attorney Planning Meeting

                 Report1 within 14 days after the first answer to the complaint is filed,2 subject to

                 the following exceptions:



1
 The Attorney Planning Meeting Report can be found on the court’s website at:
https://www.utd.uscourts.gov/civil-case-scheduling.
2
 If the first answer to the complaint is filed more than 90 days after any Defendant has been
served with the complaint or 60 days after any Defendant has appeared because the parties were
waiting for the resolution of a pending motion, the court finds good cause to delay the issuance
of a scheduling order until after the resolution of the motion. Judicial economy is favored by
such a delay.

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           a.     The parties may stipulate to a litigation schedule before an answer is filed.

           b.     If the first answer to the complaint has already been filed at the time this

                  Order is issued, Plaintiff(s) must propose a schedule to Defendant(s) in the

                  form of a draft Attorney Planning Meeting Report within 14 days after the

                  date of this Order.

           c.     DUCivR 81-2(d) governs scheduling in cases that are removed to federal

                  court.

           d.     LPR 1.2 governs scheduling in patent cases.

     2.    The parties must conduct their planning conference under Fed. R. Civ. P. 26(f)

           within 14 days after Plaintiff(s) providing Defendant(s) with a draft Attorney

           Planning Meeting Report.

           a.     The court’s preference is for the parties to conduct their Fed. R. Civ. P.

                  26(f) conference by way of: telephone call, video teleconference, or

                  in-person meeting in which all the required items in Fed. R. Civ. P. 26(f)

                  are discussed.

           b.     If the parties are unable to reach agreement on all issues required to be

                  discussed in their Fed. R. Civ. P. 26(f) conference, the parties must

                  conduct a telephone call, a video teleconference, or an in-person meeting

                  before filing a Motion for Scheduling Conference as outlined below.

     3.    Within 35 days after the first answer to the complaint is filed, or if the first answer

           to the complaint has already been filed at the time this Order is issued, within 35

           days after the date of this Order, the parties must do one of the following:


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              a.     If the parties are able to reach agreement on all issues required to be

                     discussed in their Fed. R. Civ. P. 26(f) conference, the parties must file a

                     Stipulated Motion for Scheduling Order with a jointly signed Attorney

                     Planning Meeting Report attached. The parties must also email a stipulated

                     Proposed Scheduling Order3 in word processing format to the Magistrate

                     Judge or, if the case is not assigned or referred to a Magistrate Judge, to the

                     assigned District Judge.

              b.     If the parties are unable to reach agreement on all issues required to be

                     discussed in their Fed. R. Civ. P. 26(f) conference, the parties must file a

                     Motion for Scheduling Conference with a copy of their Attorney Planning

                     Meeting Report attached indicating which provisions are contested and

                     which are not. The parties must also email their respective Proposed

                     Scheduling Orders in word processing format to the Magistrate Judge or,

                     if the case is not assigned or referred to a Magistrate Judge, to the assigned

                     District Judge.

       4.     If a Scheduling Conference is held, the parties must be prepared to discuss the

              following issues:

              •      The disputed matters in the Attorney Planning Meeting Report.

              •      What 2-3 core factual or legal issues are most likely to be determinative of

                     this dispute?


3
 The Proposed Scheduling Order can be found on the court’s website at:
https://www.utd.uscourts.gov/civil-case-scheduling.

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           •      Who are the 1-3 most important witnesses each side needs to depose? Is

                  there any reason these witnesses cannot be deposed promptly?

           •      What information would be most helpful in evaluating the likelihood of

                  settlement? Is there any reason it cannot be obtained promptly?

           •      Briefly describe the crucial facts, primary claims, and primary defenses.

           •      What could be done at the outset to narrow and target the discovery in this

                  case?

           •      What agreements have the parties reached regarding limitations on

                  discovery, including discovery of ESI?

           •      Is there a need to schedule follow-up status conferences?

     5.    The parties are urged to propose a schedule providing for:

           a.     Completion of fact discovery no more than 6 months after the first answer

                  to the complaint is filed.

           b.     Expert reports from the party with the burden of proof on an issue 28 days

                  after the completion of fact discovery, and responsive reports 28 days

                  thereafter.

           c.     Completion of expert discovery 28 days after the filing of expert reports.

           d.     Dispositive motion deadline no more than 10 months after the first answer

                  to the complaint is filed.

     6.    Unless the parties stipulate or the court orders otherwise, the parties must

           exchange their disclosures under Fed. R. Civ. P. 26(a) within 14 days from the

           date of the Fed. R. Civ. P. 26(f) conference.

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     7.     Except as provided by Fed. R. Civ. P. 26(d)(2) or by court order, discovery begins

            after the conclusion of the Fed. R. Civ. P. 26(f) conference. If a party seeks

            discovery before the Fed. R. Civ. P. 26(f) conference, it must file a Motion for

            Expedited Discovery.

     IT IS SO ORDERED.

     DATED this 11th day of January, 2024.

                                           BY THE COURT:




                                           Daphne A. Oberg
                                           United States Magistrate Judge




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